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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JALEN KOBAYASHI,                                )
                                                )
               Plaintiffs,                      )           Case No.
                                                )
               v.                               )
                                                )
CITY OF CHICAGO, and CHICAGO                    )
POLICE OFFICER JOHN DOES,                       )           JURY DEMAND
                                                )
               Defendants.                      )

                                         COMPLAINT

       1.      During the summer of 2020, the United States was in the throes of the largest

social justice movement in history. In a repudiation of anti-Black racism, white supremacy,

police violence, and mass criminalization and incarceration, millions joined demonstrations

around the globe—often lifting up the names of George Floyd, Breonna Taylor, Tony McDade,

Jacob Blake, and too many other Black people killed by police.

       2.      On August 15, 2020, Plaintiff Jalen Kobayashi joined hundreds of others in

downtown Chicago to protest anti-Black police violence and demand substantial changes,

including the massive reduction of taxpayer money being used to fund the Chicago Police

Department (“CPD”).

       3.      Plaintiff Kobayashi was exercising their rights to freedom of speech and freedom

of assembly when Chicago police officers unjustifiably subjected them to harassment and

excessive force by spraying them with a chemical agent, tackling them, beating them with

batons, placing a knee on their neck, and groping them. After abusing them, Chicago police

officers falsely arrested Plaintiff Kobayashi and held them in custody for approximately nine




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hours before releasing them with a false charge of mob action; this charge was eventually

dismissed.

          4.   The actions of the Chicago police officers were in violation of Plaintiff’s

constitutional right to free speech and assembly, their right to be free from unreasonable and

unnecessary force, and their right to be free from unreasonable search and seizure guaranteed by

the First, Fourth, and Fourteenth Amendments to the U.S. Constitution. Plaintiff Kobayashi

seeks just compensation for their bodily injuries, pain and suffering, mental anguish, humiliation,

loss of personal freedom, and other damages they suffered as a result of the violation of their

rights.

                                  JURISDICTION AND VENUE

          5.   This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a). This

Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over claims arising under Illinois

state law.

          6.   Venue is proper in this district under 28 U.S.C. § 1391(b) because the events

giving rise to the claims asserted in this complaint occurred in this judicial district.

                                              PARTIES

          7.   Plaintiff Jalen Kobayashi is a 20-year-old Afro-Latinx resident of Chicago,

Illinois who uses they/them pronouns.

          8.   Defendant City of Chicago is and at all times mentioned herein was a

municipality organized and operating under the statutes of the State of Illinois. It is authorized

under the statutes of the State of Illinois to maintain the Chicago Police Department, which acts

as the City’s agent in the areas of municipal law enforcement, and for which the City is




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ultimately responsible. Defendant City was, at all times material to this Complaint, the employer

and principal of the Defendant Officers.

       9.      Defendants Chicago Police Officer John Does are City of Chicago employees

with the CPD. At all times relevant to the events at issue in this case, these defendants were

acting under color of law and within the scope of their employment with the CPD. Each is sued

in his or her individual capacity for violating Plaintiff’s rights guaranteed by the U.S.

Constitution and Illinois state law.

                                  FACTUAL ALLEGATIONS

       10.     On May 25, 2020, Minneapolis police officers murdered George Floyd when they

suffocated him to death while he was handcuffed in a prone position on the ground in broad

daylight on the street. Floyd begged to breathe, for his mother, and for his life, and witnesses

begged the officers to let him go, before he ultimately took his last breath.

       11.     Floyd’s murder and the police murder of Breonna Taylor in her home in

Louisville, Kentucky, in addition to recent police murders of too many additional Black people

throughout the United States, sparked the largest social justice movement in the history of the

United States and has included protests around the world against anti-Black police violence,

white supremacy, systemic racism, and inequality.

       12.     In Chicago, on August 15, 2020, there was a demonstration against anti-Black

police violence downtown.

       13.     In the afternoon on August 15, 2020, Plaintiff Kobayashi joined a protest

organized by “Increase the Peace,” a community organization in Chicago, in solidarity with

Black lives.




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       14.     Plaintiff Kobayashi, due to their years of experience in leading actions and de-

escalation, was invited to speak at the demonstration by “Increase the Peace,” and to play a

minimal role in supporting the event and the protesters, the bulk of whom were expected to be

youth and young adults under the age of 21.

       15.     Plaintiff Kobayashi attended the protest with Alycia Kamil Moaton, who was

invited to provide support at the rally.

       16.     The protest started near Millennium Park. At the beginning of the protest,

protesters chanted and listened to invited speakers, one of whom was Plaintiff Kobayashi.

       17.     After listening to speakers, the protesters proceeded to march. Plaintiff

Kobayashi marched down Michigan Avenue with the 400-600 protesters and their police liaison,

who all approached Wacker Drive without any violence or unrest.

       18.     At Wacker Drive, Chicago police officers in riot gear surrounded Plaintiff

Kobayashi and the protesters. When the police violence escalated, the number of protesters

began to diminish to the point where police outnumbered the protesters.

       19.     When protesters attempted to walk over the bridge, Chicago police officers,

without warning or a clear dispersal order, began beating them with batons, taking the protesters’

belongings, and spraying them with chemical agents.

       20.     Plaintiff Kobayashi helped protesters in need of medical attention, and also helped

protesters leave the march and helped to deescalate the unrest.

       21.     One or more unidentified Chicago police officers, without warning and

justification, sprayed Plaintiff Kobayashi with a chemical agent on their body and face.

       22.     Plaintiff Kobayashi had to use saline solution on themselves multiple times to

ease the burn of the chemical agent; regardless, their clothes chaffed to their skin, and the




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chemical agent aggravated Plaintiff Kobayashi’s asthma and complications arising from a

deviated septum.

       23.     Chicago police officers ordered the protesters to leave while continuing to kettle

them, making it almost impossible to leave without being arrested.

       24.     Chicago police officers cursed and yelled misogynistic and discriminatory slurs

and threats at the protesters, including “that little cunt,” “fucker,” and called gender-deviant

people “he-she.” Officers also made comments such as, “I’ll fuck you up,” “Go protest about

kids dying,” and “I’ll give you something to protest against.”

       25.     At some point, Chicago police officers set up a check-point area in a corner of the

protest, where officers searched people as they left.

       26.     When Alycia Kamil Moaton approached this check-point, wearing a tight t-shirt,

shorts, and flip-flops, Plaintiff Kobayashi observed an unidentified Chicago police officer used

both hands to search Moaton. The officer groped Moaton’s back, buttocks, chest, genitals, and

all over her clothes.

       27.     When the officer groped Alycia Kamil Moaton’s genitals, Plaintiff Kobayashi

heard Moaton ask the officer, “What are you doing?” Other unidentified Chicago police officers

nearby then shouted, “Arrest them!” and “Take them down!”

       28.     When Plaintiff Kobayashi attempted to shield Alycia Kamil Moaton from the

officers, multiple unidentified Chicago police officers tackled Plaintiff Kobayashi, causing

Plaintiff Kobayashi to fall on top of Moaton. There were almost a dozen officers involved in this

take down.

       29.     Unidentified Chicago police officers pulled Plaintiff Kobayashi off of Alycia

Kamil Moaton, and then tackled Plaintiff Kobayashi to the ground again.




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        30.      Approximately six unidentified Chicago police officers held Plaintiff Kobayashi

down on the ground and groped Plaintiff Kobayashi’s buttocks, back, and genitals.

        31.      While Plaintiff Kobayashi was on the ground, multiple unidentified Chicago

police officers hit Plaintiff Kobayashi on the legs and back repeatedly with batons without

justification.

        32.      While Plaintiff Kobayashi was on the ground, one unidentified Chicago police

officer placed his knee on Plaintiff Kobayashi’s face and neck, stating, “This is for George

Floyd.”

        33.      The unidentified Chicago police officers said other inappropriate comments like,

“Fuck you, bitch, get on the ground,” “We got your ass now,” “Little cunt,” and more vulgarities.

        34.      Unidentified Chicago police officers zip-tied Plaintiff Kobayashi’s wrists tightly

and arrested them for no justifiable reason.

        35.      The officers took Plaintiff Kobayashi to a Chicago police squadrol down the

street, where they searched Plaintiff Kobayashi.

        36.      Plaintiff Kobayashi overheard one of the officers ask another officer, “What’s the

arrest for?” to which the other officer replied, “I don’t know, you were supposed to get that.”

The first officer then replied, “Mob action, just put down mob action.”

        37.      Plaintiff Kobayashi was taken to the 51st Street police station. At the station,

when asked if they were in need of medical attention, Plaintiff Kobayashi answered, “Yes,” to

which an unidentified Chicago police officer replied, “It’s too much paper work,” and denied

Plaintiff Kobayashi’s request for medical attention.

        38.      While in custody, Plaintiff Kobayashi was not offered food. The water was not

running in their cell, and the toilet was also not working.




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       39.     Plaintiff Kobayashi remained in custody for approximately nine hours until their

mother bailed them out.

       40.     Plaintiff Kobayashi was falsely charged with mob action by unidentified Chicago

police officers. Their charges were eventually dismissed on October 29, 2020.

       41.     Plaintiff Kobayashi did not physically attack, assault, threaten, or resist the

Defendant Officers or any other Chicago police officer at any time or in any way.

       42.     Plaintiff Kobayashi did not commit any unlawful act and was engaging in

constitutionally protected activity.

       43.     In the days and weeks following this incident, Plaintiff Kobayashi suffered dizzy

spells and nausea due to their injuries. They have suffered significant emotional distress,

including increased anxiety, PTSD, insomnia, and night terrors. Additionally, they now

experience increased fear and discomfort when they are in the presence of police officers, and

are hesitant to leave their house. Plaintiff Kobayashi sought medical treatment for their

emotional injuries.

       44.     Plaintiff Kobayashi is a dedicated community organizer but has been unable to

work in that capacity because of the harm they suffered as a result of this incident.

       45.     As a direct and proximate result of the actions of the Defendant Officers as

detailed above, Plaintiff Kobayashi suffered and continues to suffer, inter alia, bodily injuries,

including bruises and scratches to their head and body and skin irritation, as well as pain and

suffering, extreme mental distress, anguish, and fear.

                                        LEGAL CLAIMS

                                   COUNT I – 42 U.S.C. § 1983
                      Violation of the Fourth Amendment – Excessive Force




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       46.      Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

       47.      Count I is alleged against all Defendant Officers.

       48.      The actions of the Defendant Officers described above constituted unreasonable

and excessive force, without legal cause, in violation of Plaintiff Kobayashi’s rights under the

Fourth and Fourteenth Amendments to the United States Constitution.

       49.      The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiff Kobayashi’s clearly

established constitutional rights.

       50.      The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff Kobayashi’s constitutional rights, bodily injury, pain, suffering, mental

distress, anguish, humiliation, and loss of personal freedom, as set forth more fully above.

                             COUNT II – 42 U.S.C. § 1983
 Violation of the First Amendment – Freedom of Speech and Assembly, Intimidation and
                               Retaliatory Use of Force

       51.      Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

       52.      Count II is alleged against all Defendant Officers.

       53.      As described in detail above, Plaintiff Kobayashi was participating in lawful,

constitutionally protected activity on the public streets of the City of Chicago.

       54.      The actions of the Defendant Officers described above violated Plaintiff

Kobayashi’s rights to freedom of speech and assembly guaranteed by the First and Fourteenth

Amendments to the United States Constitution, in that Plaintiff Kobayashi was abruptly




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prevented from further exercising their rights and suffered retaliation for having exercised their

rights.

          55.   The Defendant Officers retaliated against Plaintiff Kobayashi for engaging in

protected speech by subjecting them to excessive force without legal justification. Plaintiff

Kobayashi’s protected speech was the substantial and motivating factor for the Defendant

Officers’ use of force against them. The Defendant Officers’ actions were intended to make

Plaintiff Kobayashi and other people engaging in constitutionally-protected speech and assembly

at the protest wary of continuing to engage in such protected activities in the future and

specifically to chill their rights guaranteed under the First Amendment.

          56.   At all relevant times, the Defendant Officers were aware that Plaintiff Kobayashi

was engaged in constitutionally-protected speech and assembly when they violated their rights.

The misconduct described in this Count was objectively unreasonable and was undertaken

intentionally, with malice and knowing disregard for Plaintiff Kobayashi’s clearly established

constitutional rights.

          57.   The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff Kobayashi’s constitutional rights, bodily injury, pain, suffering, mental

distress, anguish, humiliation, and loss of personal freedom, as set forth more fully above.

                                   COUNT III – 42 U.S.C. § 1983
                         Violation of the Fourth Amendment – False Arrest

          58.   Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

          59.   Count III is alleged against all Defendant Officers.

          60.   The actions by the Defendant Officers in falsely detaining, arresting, and

imprisoning Plaintiff without reasonable suspicion or probable cause violated Plaintiff



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Kobayashi’s Fourth and Fourteenth Amendment rights to be free from unreasonable search and

seizure.

         61.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiff Kobayashi’s clearly

established constitutional rights.

         62.    The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff Kobayashi’s constitutional rights, bodily injury, pain, suffering, mental

distress, anguish, humiliation, loss of personal freedom, and legal expenses, as set forth more

fully above.

                               COUNT IV – 42 U.S.C. § 1983
                Conspiracy to Deprive Plaintiff of Their Constitutional Rights

         63.    Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

         64.    Count IV is alleged against all Defendant Officers.

         65.    Each of the Defendant Officers, acting in concert with other known and unknown

co-conspirators, conspired by concerted action to accomplish an unlawful purpose by unlawful

means.

         66.    Each of the Defendant Officers took concrete steps to enter into an agreement to

unlawfully use force on Plaintiff Kobayashi, and to detain and arrest Plaintiff Kobayashi,

knowing they lacked reasonable suspicions and/or probable cause to do so, and for the purpose

of violating Plaintiff Kobayashi’s First, Fourth, and Fourteenth Amendment rights.

         67.    In furtherance of this conspiracy, each of the Defendant Officers committed

specific overt acts, misusing their police powers for the purpose of violating Plaintiff




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Kobayashi’s rights. They accomplished this goal by using excessive force on Plaintiff

Kobayashi and unlawfully arresting them.

       68.      Each individual Defendant Officer is therefore liable for the violation of Plaintiff

Kobayashi’s rights by any other individual Defendant Officer.

       69.      As a direct and proximate result of the Defendant Officers’ conspiracy, Plaintiff

Kobayashi suffered damages, including bodily injury, pain, suffering, mental distress, anguish,

humiliation, and loss of personal freedom, as set forth more fully above.

                                     COUNT V – 42 U.S.C. § 1983
                                        Failure to Intervene

       70.      Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

       71.      Count V is alleged against all Defendant Officers.

       72.      During the events described above, the Defendants stood by without intervening

to prevent the violation of Plaintiff Kobayashi’s constitutional rights under the First, Fourth, and

Fourteenth Amendments, even though they had the opportunity and duty to do so.

       73.      The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiff Kobayashi’s clearly

established constitutional rights.

       74.      As a direct and proximate result of the Defendants’ failure to intervene, Plaintiff

Kobayashi suffered damages, including bodily injury, pain, suffering, mental distress, anguish,

humiliation and loss of personal freedom, as set forth more fully above.

                               COUNT VI – 42 U.S.C. § 1983
         Violation of the Fourteenth Amendment – Failure to Provide Medical Care




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       75.      Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

       76.      Count VI is alleged against all Defendant Officers.

       77.      The Defendants’ failures to take appropriate steps to provide Plaintiff Kobayashi

with adequate care for their very serious medical needs, as described more fully above,

constituted deliberate indifference to Plaintiff Kobayashi’s serious medical needs and violated

their Fourteenth Amendment rights. Defendants knew of and disregarded the substantial risk of

injury to Plaintiff Kobayashi by failing to provide adequate medical care.

       78.      The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiff Kobayashi’s clearly

established constitutional rights.

       79.      The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff Kobayashi’s constitutional rights, bodily injury, pain, suffering, mental

distress, anguish, and humiliation, as set forth more fully above.

                             COUNT VII – Illinois State Law Claim
                              Violations of the Illinois Constitution

       80.      Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

       81.      Count VII is alleged against all Defendant Officers.

       82.      The actions taken by the Defendant Officers denied Plaintiff Kobayashi their state

constitutional rights to be free from an unreasonable seizure and to free expression and assembly

in a peaceable manner, as provided by the Illinois Constitution, Article I, sections 1, 2, 4, 5, and

6, and were a direct and proximate cause of Plaintiff Kobayashi’s injuries as set forth above.




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        83.     The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff Kobayashi’s Illinois State Constitutional Rights.

                             COUNT VIII – Illinois State Law Claim
                                    Assault and Battery

        84.     Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

        85.     Count VIII is alleged against all Defendant Officers.

        86.     As described in detail above, the Defendant Officers physically abused Plaintiff

Kobayashi by spraying them with a chemical agent, tackling them, striking and beating them

with batons, and groping them, causing bodily harm.

        87.     The actions of the Defendant Officers were affirmative acts and threatened to

cause or did cause an unpermitted contact of a harmful and/or offensive nature, to which Plaintiff

Kobayashi did not consent, and thus constitute assault and battery under laws of the State of

Illinois.

        88.     The actions of the Defendant Officers were committed in a willful and wanton

manner.

        89.     The Defendant Officers’ actions directly and proximately caused injury and

damage as set forth above.

                             COUNT IX – Illinois State Law Claim
                           Intentional Infliction of Emotional Distress

        90.     Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

        91.     Count IX is alleged against all Defendant Officers.




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       92.      The conduct and actions of the Defendant Officers set forth above were extreme

and outrageous. The Defendants’ actions were rooted in an abuse of power and authority, and

were done intentionally, willfully and wantonly, and/or knowing that there was a high

probability that their conduct would cause Plaintiff Kobayashi severe emotional distress as set

forth above.

       93.      As a direct and proximate cause of the extreme and outrageous conduct of the

Defendant Officers, Plaintiff Kobayashi was injured and experienced severe emotional distress

constituting intentional infliction of emotional distress under Illinois State law.

                                  COUNT X – State Law Claim
                                        False Arrest

       94.      Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

       95.      Count X is alleged against all Defendant Officers.

       96.      As described in detail above, the Defendant Officers falsely detained, arrested,

and imprisoned Plaintiff Kobayashi without reasonable suspicion or probable cause and without

having reasonable grounds to believe that an offense was committed by Plaintiff Kobayashi.

       97.      The misconduct in this Count was undertaken intentionally, with malice,

willfulness, and reckless indifference to Plaintiff Kobayashi’s rights.

       98.      The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff Kobayashi’s rights, bodily injury, pain, suffering, mental distress, anguish,

humiliation, and loss of personal freedom, as set forth more fully above.

                                  COUNT XI – State Law Claim
                                    Malicious Prosecution




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        99.     Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

        100.    Count XI is alleged against all Defendant Officers.

        101.    The Defendant officers, individually, jointly and/or in conspiracy, initiated and

continued a malicious prosecution without probable cause against Plaintiff Kobayashi.

        102.    The prosecutions of Plaintiff Kobayashi terminated in their favor and in a manner

that is indicative of innocence.

        103.    The Defendant Officers’ actions were committed in a willful and wanton manner.

        104.    The Defendant Officers’ actions directly and proximately caused injury and

damage as set forth above.

                             COUNT XII – Illinois State Law Claim
                                        Conspiracy

        105.    Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

        106.    Count XII is alleged against all Defendant Officers.

        107.    The Defendant Officers together reached an understanding, engaged in and

continue to engage in a course of conduct, and otherwise jointly acted and/or conspired among

and between themselves to violate Plaintiff Kobayashi’s rights guaranteed by the Illinois

constitution and to be free from false arrest and the intentional infliction of severe emotional

distress on Plaintiff Kobayashi.

        108.    In furtherance of this conspiracy or conspiracies, the Defendant Officers, together

with their un-sued co-conspirators, committed the overt acts set forth above.

        109.    The Defendant Officers acted with malice, willfulness, and reckless indifference

to Plaintiffs’ rights.



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       110.     Each individual Defendant is therefore liable for the violation of Plaintiff

Kobayashi’s rights by any other individual Defendant.

       111.     The conspiracy or conspiracies were and are continuing in nature.

       112.     As a direct and proximate result of the Defendant Officers’ conspiracy, Plaintiff

Kobayashi suffered damages, including mental distress, anguish, humiliation, and violations of

their rights, as set forth more fully above.

                                 COUNT XIII – State Law Claim
                                    Respondeat Superior

       113.     Plaintiff Kobayashi repeats and re-alleges the foregoing paragraphs as if fully set

forth herein.

       114.     Count XIII is alleged against Defendant City of Chicago.

       115.     In committing the acts alleged in this Complaint, each of the individual Defendant

Officers were members of, and agents of, the CPD, acting at all relevant times within the scope

of their employment.

       116.     Defendant City of Chicago is liable as principal for all torts in violation of state

law committed by its agents.

                                 COUNT XIV – State Law Claim
                                      Indemnification

       117.     Plaintiff Kobayashi repeat and re-allege the foregoing paragraphs as if fully set

forth herein.

       118.     Count XIV is alleged against Defendant City of Chicago.

       119.     In Illinois, pursuant to 735 ILCS 10/9-102, public entities are directed to pay any

tort judgment for compensatory damages for which employees are liable within the scope of their

employment activities.




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       120.      The Defendant Officers acted within the scope of their employment in committing

the misconduct described herein. Therefore, Defendant City of Chicago is liable as their

employer for any resulting damages or award of attorney’s fees.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff Kobayashi requests that this Court enter judgment in their favor

against the Defendants in the following manner:

       1.        Award Plaintiff compensatory and punitive damages.

       2.        Award Plaintiff reasonable attorneys’ fees, costs, and expenses pursuant to 42

U.S.C. § 1988.

       3.        Award Plaintiff such other and further relief as this Court may deem appropriate

and just.

                                          JURY DEMAND

       Plaintiff demands trial by jury.



Dated: August 13, 2021

                                                      Respectfully submitted,

                                                      /s/ Vanessa del Valle
                                                      Vanessa del Valle

                                                      Vanessa del Valle
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                                                      /s/ Sheila A. Bedi




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